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                         Exhibit A
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 CHAMBER OF COMMERCE OF THE
 UNITED STATES OF AMERICA;
 LONGVIEW CHAMBER OF COMMERCE;
 AMERICAN BANKERS ASSOCIATION;
 CONSUMER BANKERS ASSOCIATION;
 INDEPENDENT BANKERS ASSOCIA-
 TION OF TEXAS; TEXAS ASSOCIATION        Case No. 6:22-cv-00381-JCB
 OF BUSINESS; and TEXAS BANKERS AS-
 SOCIATION,                              DECLARATION OF THOMAS
                             Plaintiffs, QUAADMAN IN SUPPORT OF
                                         PLAINTIFFS’ MOTION FOR
 v.                                      SUMMARY JUDGMENT
 CONSUMER FINANCIAL PROTECTION
 BUREAU; and ROHIT CHOPRA, in his offi-
 cial capacity as Director of the Consumer Fi-
 nancial Protection Bureau,
                                       Defendants.

                         DECLARATION OF THOMAS QUAADMAN
I, Thomas Quaadman, declare as follows:

       1.      I am the Executive Vice President of the Center for Capital Markets Competitiveness

(CCMC) for the Chamber of Commerce of the United States of America. In that capacity, I oversee

all of CCMC’s operations. CCMC works to advance America’s global leadership in capital formation

by supporting diverse capital markets that are the most fair, transparent, efficient, and innovative in

the world. CCMC advocates on behalf of American businesses to ensure that legislation and regula-

tion strengthen our capital markets, thus allowing businesses—from the local flower shop to a multi-

national manufacturer—to mitigate risks, manage liquidity, access credit, and raise capital. I headed

the Chamber’s efforts on the Dodd-Frank Wall Street Reform and Consumer Protection Act, and I

direct the Chamber’s work on corporate governance. I have also testified on several occasions before
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congressional committees on issues covering capital formation, financial reporting, and corporate gov-

ernance.

       2.      The purpose of this declaration is to discuss the effects of a new rule announced by

the CFPB in an amendment to its Supervision and Examination Manual, Unfair, Deceptive, or Abu-

sive Acts or Practices Section, issued by the Consumer Financial Protection Bureau on March 16,

2022 (“Manual Update”).

       3.      Unless otherwise stated, this Declaration is based upon my personal knowledge and

belief and/or upon my review of business records of the Chamber. If called as a witness, I could and

would testify competently thereto.


I.     The Chamber’s Mission and Members
       4.      The Chamber is the world’s largest business federation, representing approximately

300,000 direct members and indirectly representing an underlying membership of more than three

million U.S. businesses and professional organizations of every size and in every economic sector and

geographic region of the country.

       5.      The Chamber has as members numerous depository institutions that are subject to

CFPB supervision and examination, see 12 U.S.C. §5515, and listed as such on the CFPB’s website at:

https://files.consumerfinance.gov/f/documents/cfpb_depository-institutions-list_2022-03.pdf.

       6.       The Chamber also has members not currently subject to CFPB supervision but sub-

ject to the prohibition on unfair, deceptive, abusive, acts, or practices (“UDAAP”) in the Dodd-Frank

Act, which applies to “covered person[s]” and “service provider[s]. See 12 U.S.C. §5531(a) (“The

Bureau may take any action authorized under part E to prevent a covered person or service provider

from committing or engaging in an unfair, deceptive, or abusive act or practice under Federal law in

connection with any transaction with a consumer for a consumer financial product or service, or the

offering of a consumer financial product or service.”). “[C]overed person” is defined to include “(A)


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any person that engages in offering or providing a consumer financial product or service” and “any

affiliate of a person described in subparagraph (A) if such affiliate acts as a service provider to such

person.” 12 U.S.C. §5481(6). We have members who offer and provide consumer financial products

and services but are not on the CFPB list for supervision and examination described above.

           7.   The Chamber’s mission is to advocate for policies that help businesses grow and create

jobs in their communities. As part of advancing that mission, the Chamber seeks to advance America’s

global leadership in capital formation by supporting diverse capital markets that are the most fair,

transparent, efficient, and innovative in the world. Among other things, the Chamber seeks to ensure

that businesses have access to diverse financial service providers and products helping to meet their

credit, investment, risk management, and liquidity needs; works to enhance Americans’ access to in-

vestment options and advice while ensuring strong protections are in place; and advocates for con-

sumer protection and expanded access to responsible consumer financial products. An important

function of the Chamber is to represent the interests of its members before Congress, the Executive

Branch, and the courts.


II.        The Impact of the CFPB’s UDAAP Rule on Members’ Businesses
           8.   As Executive Vice President of the Center for Capital Markets Competitiveness, I have

worked closely with many Chamber members to understand how the new legal rule announced in the

Manual Update will affect member businesses and the substantial and irreparable harm that will result

from it.


           A. The CFPB’s new UDAAP rule is forcing members to incur burdensome
              compliance costs.
           9.   To ensure compliance with Dodd-Frank’s requirements and proscriptions, the CFPB

subjects regulated entities to compliance examinations. CFPB personnel go onsite to regulated entities

to observe, conduct interviews, and review documents and information. They review both whether


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there is evidence of violations and whether there are adequate policies and procedures in place to

prevent violations. These examinations require substantial time and attention by the employees of

regulated entities, time and attention that must be diverted from other business activities. Compliance

with Dodd-Frank’s prohibition on UDAAP is one matter that the CFPB investigates through its ex-

amination process.

        10.     The CFPB gives its examiners direction on how to assess compliance with federal

consumer financial laws in these examinations through its Supervision and Examination Manual. This

1800+ page manual provides regulated entities with information about how the CFPB assesses their

compliance with federal consumer financial laws and sets forth expectations for every institution under

the CFPB’s supervision and enforcement authority. For example, in an examination of an entity’s

compliance management system, the manual directs CFPB examiners to request and review a whole

host of specified documents; determine whether those documents address specified issues; draw from

that review preliminary conclusions about whether an entity’s compliance program is strong, satisfac-

tory, deficient, seriously deficient, or critically deficient; identify action needed to correct weaknesses

in the entity’s compliance management system; discuss findings with the institution’s management

and, if necessary, obtain a commitment for corrective action; and prepare a memorandum for inclu-

sion in the CFPB’s official system of record that outlines planning and strategy considerations for the

next examination or interim follow-up. The manual is written with mandatory language to its exam-

iners; indeed, it uses the word “must” more than 2,000 times.

        11.     The CFPB treats the manual as setting forth legal requirements for regulated entities.

For example, it has already cited the UDAAP section of its manual for the proposition that “discrim-

ination may constitute an unfair act or practice that violates the UDAAP prohibition.” Limited Ap-

plicability of Consumer Financial Protection Act’s “Time or Space” Exception with Respect to Digital Marketing

Providers, 87 Fed. Reg. 50556, 50557 (Aug. 17, 2022) (citing UDAAP manual). Other examples abound.



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See, e.g., Equal Credit Opportunity (Regulation B); Revocation or Unfavorable Changes to the Terms

of Existing Credit Arrangements, 87 Fed. Reg. 30097, 30098 (May 18, 2022) (“In addition, the Bu-

reau’s Supervision and Examination Manual makes clear that creditors subject to the Bureau’s supervisory

jurisdiction must comply with ECOA and Regulation B’s requirements with respect to existing ac-

counts. For instance, the Examination Manual explains that ‘[n]otification of adverse action taken on

an existing account must also be made within 30 days.’”). The Chamber’s members thus have no choice

but to treat the manual as articulating legal requirements that they must follow.

        12.     To ensure that a regulated entity is taking sufficient steps to prevent UDAAP viola-

tions, the CFPB directs its examiners to review the entity’s compliance risk management systems,

including internal controls, policies, and procedures; the entity’s training materials; the entity’s proce-

dure manuals and written policies; the entity’s internal control monitoring and auditing materials; the

entity’s minutes for board meetings and management committees; and all relevant written policies and

procedures and internal and external audit reports.

        13.     If a regulated entity fails to demonstrate what the CFPB deems an adequate compli-

ance program, the CFPB can issue a “Matter Requiring Attention,” which identifies specific goals for

the regulated entity and timeframes in which those goals must be accomplished. An entity’s response

to a “Matter Requiring Attention” can affect its Compliance rating, which the CFPB assigns at the

end of an examination; is communicated to the bank’s management and, in some cases, its Board of

Directors; and can lead to additional examinations, investigations, or public enforcement actions. Ad-

ditional supervisory or enforcement actions impose costs on regulated entities. “Matters Requiring

Attention” are shared with a supervised entity’s prudential regulator, which has additional tools to

leverage compliance. The CFPB can also refer an issue to a committee to consider further supervisory

or enforcement action without issuing a “Matter Requiring Attention.”




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       14.     A change to the scope of UDAAP therefore imposes direct costs on regulated entities.

Entities must undergo examinations and comply with the CFPB’s demands for records, information,

and other materials. The CFPB’s expanded interpretation of UDAAP leads to an expansion of the

materials that will be relevant to the CFPB’s examination and thus imposes additional examination

costs on regulated entities as they respond to these expanded examinations.

       15.     Another cost from the expansion of UDAAP is the cost of ensuring that the regulated

entity has sufficient compliance policies and procedures to satisfy the CFPB. Regulated entities will

have to expend resources to introduce and maintain new compliance programs to account for the

CFPB’s expanded interpretation of UDAAP.

       16.     Members of the Chamber have already begun complying with the CFPB’s new rule by

expanding their UDAAP compliance systems, including their risk assessments, checklists, and other

tools, to include nondiscrimination and by applying existing compliance systems that cover nondis-

crimination to consumer financial products not covered by the Equal Credit Opportunity Act or

Home Mortgage Disclosure Act. For example, Member A significantly modified its existing compli-

ance management system to control and monitor for substantial additional risks and updated its pro-

cesses for certain business approvals to more explicitly evaluate these risks in connection with non-

lending products and services. Member B updated its policies, controls, and training materials to

include discrimination considerations for non-credit products. These enhanced compliance programs

require either more staff or more time from existing staff, new training programs, and additional busi-

ness line resources for the implementation of additional controls.

       17.     In addition, members of the Chamber have begun monitoring and reviewing potential

discrimination claims under a different legal analysis—the one applicable to alleged “unfair” acts under

UDAAP. For example, Member C updated its UDAAP risk assessment to assess discrimination as a




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possible UDAAP risk. This change also requires more staff or more time from existing staff, new

training programs, and additional business line resources.

        18.     Some members have also begun performing additional analyses of consumer de-

mographics for deposit products, which are not subject to ECOA or the HMDA but are subject to

the prohibition on UDAAP. Member D, for example, has performed a breakdown of consumer

demographics for its deposit products. Member E has begun to inventory relevant data (including

demographic data) that exists within the company but was previously outside the scope of its fair

lending program. As noted above, members are preparing to expand their testing of compliance risks

throughout the lifecycle of deposit products.

        19.     Based on their particular businesses and product lines, the costs on U.S. Chamber

members from complying with the CFPB’s new rule vary from $10,000 to more than $1 million an-

nually per member. And these are not “one off” costs; these are business expenses that will occur over

and over each year.

        20.     The compliance costs experienced by our members are compounded by the fact that

the Manual Update does not identify any protected classes or characteristics. ECOA prohibits dis-

crimination “on the basis of race, color, religion, national origin, sex or marital status, or age (provided

the applicant has the capacity to contract)”; “because all or part of the applicant’s income derives from

any public assistance program”; and “because the applicant has in good faith exercised any right under

this chapter.” 15 U.S.C. §1691(a). But ECOA also identifies certain activities that are not discrimina-

tion in the credit space, such as “mak[ing] an inquiry of marital status if such inquiry is for the purpose

of ascertaining the creditor’s rights and remedies applicable to the particular extension of credit and

not to discriminate in a determination of credit-worthiness”; “mak[ing] an inquiry of the applicant’s

age or whether the applicant’s income derives from any public assistance program if such inquiry is

for the purpose of determining the amount and probable continuance of income levels, credit history,



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or other pertinent element of credit-worthiness”; and “refus[ing] to extend credit pursuant to” certain

credit assistance programs if the “refusal is required by or made pursuant to such program.” 15 U.S.C.

§1691(b). The Manual Update offers no similar specification, leaving regulated entities to guess as to

what potential disparate impacts the CFPB may deem unfair under UDAAP. This lack of clarity fur-

ther increases compliance costs.

       21.        The increased compliance costs are not limited to those Chamber members whom the

CFPB supervises. Because the CFPB is the agency charged by Congress with interpreting the UDAAP

provision of the Dodd-Frank Act, 12 U.S.C. §5536(a)(1)(B), any entity subject to the Dodd-Frank

provisions governing UDAAP is affected by the CFPB’s pronouncements.

       22.        Our members would not have undertaken these compliance activities but for the an-

nouncement from the CFPB that it interprets UDAAP to include liability for discrimination and dis-

parate impacts.


       B. The CFPB’s UDAAP rule threatens members with costly enforcement
          actions.
       23.        In addition to harming members by forcing them to incur compliance costs with the

unlawful update, CFPB also harms members by exposing them to the risk of enforcement actions for

violations of the UDAAP expansion.

       24.        The CFPB can choose to bring an enforcement action based on findings it made dur-

ing the examination process. In that enforcement action, the CFPB can issue penalties, including a

variety of monetary penalties.

       25.        The prospect of defending an expensive enforcement action, with the potential for

monetary penalties, will lead members to change their behavior to avoid liability. Members that choose

not to accede to CFPB’s expansion of UDAAP will have to incur those costs and risk those penalties.




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